      4:16-cb-03004-CRZ         Doc # 3    Filed: 04/27/16     Page 1 of 1 - Page ID # 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                                   4:16CB3004

     vs.                                              VIOLATION NOTICE: 1752967

ANDREW WIEGAND,                                                   ORDER

                   Defendant.



     Upon motion of the government, this matter shall be continued to June 2, 2016 at 8:30 a.m.


     IT IS SO ORDERED this 27th day of April, 2016.


                                                 _______________________________
                                                 CHERYL R. ZWART
                                                 United States Magistrate Judge
